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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                     Plaintiff,
                                            No. 15 Civ. 7433 (LAP)
-against-
                                                        ORDER
GHISLAINE MAXWELL,

                     Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

     The    Court   will   rule   telephonically   on   the     unsealing   of

materials relevant to docket entries 143, 164, 172, 199, and 230,

with respect to Does 1 and 2, on July 23, 2020, at 11:30 a.m. EST.

The Court will communicate separately to counsel information for

joining the teleconference.       Members of the media and the general

public may join the teleconference using the following listen-only

line: (888) 363-4734, access code: 4645450.

SO ORDERED.

Dated:      New York, New York
            July 21, 2020

                             __________________________________
                             LORETTA A. PRESKA
                             Senior United States District Judge




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